Case 17-10828-elf   Doc 18   Filed 02/21/17 Entered 02/21/17 15:44:28   Desc Main
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                      UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                              February 21, 2017

To:
      Eric Long
      1000 Follies Road
      Drawer K
      Inmate #LY 2843
      SCI Dallas
      Dallas PA   18612


                                  In re: Amended E/F
                                  Bankruptcy No. 17-10828ELF
                                  Adversary No.
                                  Chapter 7

      Re Amended Schedules E/F

The above pleading was filed in this office on 2/16/2017 .
Please be advised that the following document(s) has (have) not
been filed as required pursuant to the Federal Rules of
Bankruptcy Procedure and/or the Local Rules of this court:

            ()      Affidavit
            ()      Certificate of Service
            ()      Certification of no response
            ()      Notice pursuant to Rule 9019
            ()      Notice pursuant to Rule 2002
            ()      Notice pursuant to Rule 3007.1
            ()      Proof of Claim number not noted on
                              objection pursuant to Rule 3007.1(a)
            ()      Proposed Order
            ()      Stipulation
            ()      Certification of Default
            (X)     $31.00 Filing Fee for Amendments E and F
            ()      $25.00 Claims Transfer Fee
            ()      Other

In order for this matter to proceed to disposition, please submit
the above noted item(s) to this office within fourteen (14) days
from the date of this notice. Otherwise, the matter will be
referred to the Court.

                               Timothy B. McGrath
                               Clerk


                               By: Virginia S. DeBuvitz
                                     Deputy Clerk
status.frm
(rev. 2/04/14)
